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                                 24420

 From:          Melanie Bray
 To:            Kathy Keifer; Emma Douglas; Jonathan Trunnell; Schwartzmann, Katharine M; Connell Archey; Randy Robert;
                Keith Fernandez; Madaline King
 Subject:       Exhibits for 1/18/22
 Date:          Wednesday, January 19, 2022 9:03:15 AM


 CAUTION - EXTERNAL:

 Good morning,

 Please see below for the list of exhibits entered into evidence by Plaintiffs on
 1/18/2022:

 P-GGG-207
 P-NNN-02
 P-NNN-31
 P-NNN-60
 P-NNN-15
 P-NNN-37
 P-NNN-10
 P-NNN-11
 P-NNN-12
 P-NNN-03
 P-NNN-07
 P-NNN-17
 P-NNN-20
 P-NNN-24
 P-NNN-25
 P-NNN-26
 P-NNN-34
 P-NNN-41
 P-NNN-43
 P-NNN-06
 P-NNN-33
 P-NNN-35
 P-LL-151
 P-LL-48
 P-LL-363
 P-FF-47
 P-DD-03
 P-DD-05
 P-DD-06
 P-TTT-3 THROUGH 10
 P-F-07
 P-F-08

 Please let me know if you need anything else.
